       Case 1:21-cr-00041-JL Document 321-11 Filed 07/17/23 Page 1 of 2




                        Digital Federal Credit Union - 5127
  Deposit Source      Transactions         Total          Connection to Business

   Cash/Shared            203          $725,374.92
  Branch Deposit
     TOTAL                             $725,374.92

                                     PAYEES
          Payee                        Count                        Total
  Gemini Trust Company                  16                      -$966,000.00
      Ian Freeman                        6                      -$102,000.00
        TOTAL                                                    -$1,068,000

                   NOTE ON SHARED BRANCH DEPOSITS
For many of the shared branch deposits, the backup deposit slip was not included,
and so categorized as “Item Missing,” in the bank summaries. The bank
statements themselves, however, indicate that these are in fact the shared branch
deposits that were at the heart of Freeman’s unlicensed money transmitting
business. As an illustration, below are the same transactions illustrated in the bank
statements and the forensic accountant’s summary:
             Case 1:21-cr-00041-JL Document 321-11 Filed 07/17/23 Page 2 of 2


Summary of Deposit Sources
Ian Freeman, Digital Credit Union, Member No. 5127
Free Checking (Account Closed)
July 2017 - December 2018

Deposit Source                            Count      Total Deposited      Percentage of Total
Adjust Check Hold Days                         7                 $0.00           0.00%
B        ,T       E.                           1             $9,990.00           0.85%
Cash                                         70           $336,481.75           28.74%
D ,B                                           1             $1,005.00           0.09%
Freeman, Ian                                   1          $100,000.00            8.54%
Freeman, Ian/Free Talk Live                    2          $215,000.00           18.36%
Gemini Trust Company LLC                       1            $20,000.00           1.71%
Item Missing                                123           $388,893.17           33.22%
JP Morgan Chase                                2                 $0.30           0.00%
Maker Unknown                                  1            $46,166.00           3.94%
New Account                                    1                 $0.00           0.00%
Reversal                                       1             $2,205.00           0.19%
Shire Free Church Monadnock                    2            $50,000.00           4.27%
State Farm Bank Test Transaction               2                 $0.33           0.00%
Transfer from Account 1                        2             $1,020.00           0.09%
Grand Total                                 217         $1,170,761.55          100.00%



Summary of Payees
Ian Freeman, Digital Credit Union, Member No. 5127
Free Checking (Account Closed)
July 2017 - December 2018

Payee                                     Count        Total Paid         Perecentage of Total
American Real Estate LLC                       1            -$7,885.00                     0.67%
Bank Fee                                     18               -$260.00                     0.02%
Closing Transfer                               1              -$305.92                     0.03%
Debit                                          5          -$14,410.00                      1.23%
Debit Returned                                 1          -$30,000.00                      2.56%
F        ,C      M.                            1            -$2,000.00                     0.17%
Freeman, Ian                                   6         -$102,000.00                      8.71%
Gemini Trust Company LLC                     16          -$966,000.00                     82.51%
Gemini Trust Company LLC (Returned)            1          -$20,000.00                      1.71%
Item Missing                                   2          -$11,900.00                      1.02%
JP Morgan Chase                                1                 -$0.30                    0.00%
State Farm Bank Test Transaction               2                 -$0.33                    0.00%
Transfer from Account 1                        1            -$1,000.00                     0.09%
Withdrawal                                     1          -$15,000.00                      1.28%
Grand Total                                  57        -$1,170,761.55                   100.00%


as of May 16, 2019
